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ATTORNEYS FOR JOSEPH DUANE FOLKERTS


                    IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON

                                 PORTLAND DIVISION


UNITED STATES OF AMERICA,                       ) Case No. 3:18-CR-00319-JO-07
                                                )
               Plaintiff,                       )
                                                ) NOTICE OF APPEAL
       vs.                                      )
                                                ) FRAP 9(a) APPEAL
JOSEPH DUANE FOLKERTS,                          )
                                                )
               Defendant.                       )
                                                )


        COMES NOW Defendant, Joseph Duane Folkerts, by and through his attorneys,
Andrew M. Kohlmetz and Laurie Bender, and hereby appeals to the United States Court
of Appeals for the Ninth Circuit from the Order of the detaining the defendant prior to
trial (DR # 221) entered in this action on the 9th day of September, 2019.
                      RESPECTFULLY SUBMITTED this 9th day of September, 2019.


                                             _____________________________
                                             Andrew M. Kohlmetz, OSB 955418
                                             Attorney for Defendant Folkerts
                      NOTICE OF APPEAL: FRAP9(a) APPEAL- 1
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